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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


IN RE: NEW ENGLAND COMPOUNDING                   MDL No. 2419
PHARMACY, INC. PRODUCTS LIABILITY                Master Dkt. 1:13-md-02419-RWZ
LITIGATION
THIS DOCUMENT RELATES TO:

All Actions


                                   DEPOSITION NOTICE

       Please take notice that pursuant to Rule 30 of the Federal Rules of Civil Procedure and

MDL Order No. 10 (Document #1426), the Plaintiffs’ Steering Committee (“PSC”) will take the

30(b)(6) deposition of St. Thomas Health and St. Thomas Hospital designee, Michael Schatzlein,

MD, on Tuesday, July 21, 2015 at 9:00am at the offices of Bradley Arant Boult Cummings, LLP,

1600 Division St., Suite 700, Nashville, TN 37203. The deposition will be recorded by

stenographical means and by video.




Dated: June 24, 2015                        Respectfully submitted,

                                            /s/ J. Gerard Stranch, IV
                                            J. Gerard Stranch, IV
                                            Benjamin A. Gastel
                                            BRANSTETTER, STRANCH & JENNINGS PLLC
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                                            Plaintiffs’ Steering Committee and Tennessee State
                                            Chair
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 24, 2015, a true and exact copy of the

foregoing was served on all counsel of record via electronic mail.


                                             /s/ J. Gerard Stranch, IV
                                             J. Gerard Stranch, IV
